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             EXHIBIT 17
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Morgan, Patricia Kay                                         August 27, 2007
                                       Tampa, FL

                                                                              Page 1
                     IN THE CIRCUIT COURT OF

                   MONTGOMERY COUNTY, ALABAMA

   - - - - - - - - - - - - - - -x

   STATE OF ALABAMA,              :

        Plaintiff,                :

        vs.                       :    Case No.: CV-05-219

   ABBOTT LABORATORIES, INC.,     :    Judge Charles Price

    et al.                        :

        Defendants.               :

   - - - - - - - - - - - - - - -x

         UNITED STATES DISTRICT COURT

            DISTRICT OF MASSACHUSETTS

   ------------------------------X

   In re:    PHARMACEUTICAL        :

   INDUSTRY AVERAGE WHOLESALE      : MDL No. 1456

   PRICE LITIGATION                : Civil Action No.

                                   : 01-12257-PBS

   THIS DOCUMENT RELATES TO:       :

                                   :

   ALL ACTIONS                     :

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                 DEPOSITION OF PATRICIA KAY MORGAN

                         August 27, 2007




                        Henderson Legal Services
                              202-220-4158

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Morgan, Patricia Kay                                                                 August 27, 2007
                                                Tampa, FL
                                               Page 26                                                     Page 28
 1             EXAMINATION                                 1      Q. First DataBank, as I understand it, is a
 2   BY MR. EDWARDS:                                       2   company that reports product and pricing
 3       Q. By my watch it's around 1:15. Thank you        3   information on pharmaceutical products; is that
 4   for appearing today, Ms. Morgan. I'm Steve            4   correct?
 5   Edwards. I represent Bristol-Myers Squibb in the      5      A. That's correct.
 6   case by the State of Alabama against a number of      6      Q. Okay. And First DataBank is owned by
 7   pharmaceutical manufacturers and many other cases     7   Hearst Corporation, is that correct?
 8   as to which your deposition has been noticed here     8      A. That's correct.
 9   today.                                                9      Q. And Hearst Corporation is a public
10       Why don't we start by asking you to state your   10   company; it's not owned by any of the
11   name and address for the record.                     11   pharmaceutical manufacturers? Is that true?
12       A. Patricia Kay Morgan, 700 South Harbour        12      A. I don't believe it's a public company.
13   Island Boulevard, Tampa, Florida 33602.              13      Q. Okay. But it's not owned by any
14       Q. And is it correct that you're here today      14   pharmaceutical manufacturers; is that true?
15   pursuant to a subpoena?                              15      A. That's true.
16       A. That's correct.                               16      Q. It's independent of the pharmaceutical
17       Q. And is it also correct that you objected      17   manufacturers; is that fair?
18   to the subpoena?                                     18      A. That's true.
19       A. That's correct.                               19      Q. Now, as I understand it, at First
20       Q. So you're not here today voluntarily;         20   DataBank you were the manager of editorial
21   you're here because a court ordered you to appear,   21   services?
22   correct?                                             22      A. That's correct.
23       A. That's correct.                               23      Q. And as such, you were responsible for
                                               Page 27                                                     Page 29
 1      Q. And you're represented by counsel here          1   populating the drug database; is that correct?
 2   today; is that correct?                               2       A. As far as the product and the pricing
 3      A. That's correct.                                 3   information.
 4      Q. And that's Mr. Kern?                            4       Q. And the pricing information that appeared
 5      A. Correct.                                        5   in that database included average wholesale prices
 6      Q. And he is also counsel for First                6   or AWPs; correct?
 7   DataBank; is that your understanding?                 7       A. We called it Blue Book AWP. But yes,
 8      A. That's correct.                                 8   there was that field.
 9      Q. And First DataBank is your former               9       Q. And there were also wholesale net prices
10   employer; is that correct?                           10   or wholesale acquisition costs also known as WAC?
11      A. That's correct.                                11       A. That's correct.
12      Q. As I understand it, you graduated from         12       MR. EDWARDS: That's W-A-C for the reporter.
13   college in about 1975; is that correct?              13       MR. KERN: Steve, let just interpose that --
14      A. That's correct.                                14   remind all the parties that the protective order
15      Q. And you have a pharmacy degree?                15   does prohibit parties from asking about subject
16      A. That's correct.                                16   matter areas that were covered in prior depositions
17      Q. And then after college you worked at           17   except as necessary to reasonably lay foundation,
18   Abbott Labs from 1975 to sometime in 1999; is that   18   which I think you're doing.
19   correct?                                             19       MR. EDWARDS: Which I'm trying to do.
20      A. That's correct.                                20       MR. KERN: Okay.
21      Q. And then you worked at First DataBank          21   BY MR. EDWARDS:
22   from 1999 till sometime in 2005?                     22       Q. And as I understand it, you have
23      A. That's correct.                                23   testified about your work at First DataBank before;
                                                                                      8 (Pages 26 to 29)
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